                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 1 of 35



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                   12                              UNITED STATES DISTRICT COURT

                   13                           NORTHERN DISTRICT OF CALIFORNIA

                   14                                   SAN FRANCISCO DIVISION

                   15
                        SARAH ANDERSEN, an individual;                 Case No. 3:23-cv-00201-WHO
                   16   KELLY MCKERNAN, an individual;
                        KARLA ORTIZ, an individual,                    DEFENDANT MIDJOURNEY, INC.’S NOTICE
                   17                                                  OF MOTION AND MOTION TO DISMISS
                           Individual and Representative Plaintiffs,   PLAINTIFFS’ COMPLAINT AND TO STRIKE
                   18                                                  CLASS CLAIMS
                               v.
                   19                                                  Date:        July 19, 2023
                        STABILITY AI LTD., a UK corporation;           Time:        2:00 p.m.
                   20   STABILITY AI, INC., a Delaware                 Courtroom:   2, 17th Floor
                        corporation; MIDJOURNEY, INC., a               Judge:       William H. Orrick
                   21   Delaware corporation; DEVIANTART, INC.,
                        a Delaware corporation,
                   22                                                  Trial Date: None
                                                        Defendants.    Date Action Filed: January 13, 2023
                   23

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ATTORNEYS AT LAW                                                                    DEFENDANT MIDJOURNEY’S NOTICE &
                                                                                     MOTION TO DISMISS AND/OR STRIKE
                                                                                         CASE NO.: 3:23-CV-00201-WHO
                          Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 2 of 35



                    1                                                      TABLE OF CONTENTS

                    2                                                                                                                                        Page

                    3   NOTICE OF MOTION AND MOTION TO DISMISS AND/OR STRIKE ............................... viii
                        MEMORANDUM OF POINTS AND AUTHORITIES ................................................................ 1
                    4
                        I.   INTRODUCTION..................................................................................................................... 1
                    5   II.  SUMMARY OF RELEVANT FACTS AND ALLEGATIONS ........................................................... 2
                    6        A.    Named Plaintiffs ..................................................................................................... 2
                             B.    Defendants and Their AI Image Products ............................................................... 3
                    7
                             C.    Plaintiffs’ Hodgepodge Theories of Wrongdoing ................................................... 4
                    8        D.    Plaintiffs’ Class Allegations.................................................................................... 6
                    9   III. LEGAL STANDARDS.............................................................................................................. 6
                             A.    Motions to Dismiss Under Rule 12(b)6) ................................................................. 6
                   10
                             B.    Motions to Strike Under Rule 12(f) ........................................................................ 6
                   11   IV.  ALL CLAIMS AGAINST MIDJOURNEY SHOULD BE DISMISSED .............................................. 7
                   12        A.    Plaintiffs Fail to Adequately Plead Direct or Vicarious Copyright
                                   Infringement (Claims 1, 2) ...................................................................................... 7
                   13              1.         Plaintiffs do not allege valid copyright registrations for their Works ......... 7
                   14              2.         Plaintiffs fail to plead infringement by Midjourney ................................... 8
                                   3.         Plaintiffs fail to allege cognizable violations of rights to prepare
                   15                         derivative works and to perform works .................................................... 11
                   16              4.         Plaintiffs fail to plead a viable claim for vicarious infringement.............. 12
                             B.    Plaintiffs Fail to Adequately Plead a Violation of the DMCA (Claim 3) ............. 14
                   17
                                   1.         Plaintiffs identify no Work from which CMI was altered or
                   18                         removed ..................................................................................................... 15
                                   2.         Plaintiffs’ improper shotgun pleading fails to articulate
                   19                         Midjourney’s alleged involvement in the alteration or removal of
                                              CMI ........................................................................................................... 16
                   20
                                   3.         Plaintiffs fail to plead any facts to establish scienter ................................ 16
                   21        C.    Plaintiffs’ Right of Publicity Claims (Claims 4, 5) Should Be Dismissed ........... 17
                   22        D.    Plaintiffs Fail to Plead a Viable Claim for Unfair Competition (Claim 6) ........... 19
                             E.    Plaintiffs’ Claim for Declaratory Relief is Redundant and Improper (Claim
                   23              8) ........................................................................................................................... 21
                   24   V.   PLAINTIFFS’ CLASS ALLEGATIONS SHOULD BE STRICKEN UNDER RULE 12(f) .................. 21
                                   1.         No purported “Damages Class” can be certified....................................... 22
                   25
                                   2.         No purported “Injunctive Relief Class” can be certified .......................... 25
                   26   VI.  CONCLUSION ...................................................................................................................... 25
                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                                    DEFENDANT MIDJOURNEY’S NOTICE &
                                                                                              i                      MOTION TO DISMISS AND/OR STRIKE
                                                                                                                         CASE NO.: 3:23-CV-00201-WHO
                          Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 3 of 35



                    1                                                   TABLE OF AUTHORITIES

                    2                                                                                                                                    Page(s)

                    3   Cases
                    4   A&M Records v. Napster, Inc.,
                          239 F.3d 1004 (9th Cir. 2001)........................................................................................... 13, 14
                    5

                    6   Airs Aromatics, LLC v. Victoria’s Secret Stores Brand Mgmt., Inc.,
                            744 F.3d 595 (9th Cir. 2014)............................................................................................. 11, 15
                    7
                        Apple Computer, Inc. v. Microsoft Corp.,
                    8      759 F. Supp. 1444 (N.D. Cal.), on reconsideration, 779 F. Supp. 133 (N.D.
                           Cal. 1991), and aff’d, 35 F.3d 1435 (9th Cir. 1994) ............................................................... 11
                    9
                        Ashcroft v. Iqbal,
                   10      556 U.S. 662 (2009) ...................................................................................................... 6, 13, 16
                   11
                        Bates v. Bankers Life & Cas. Co.,
                   12      993 F. Supp. 2d 1318 (D. Or. 2014) ....................................................................................... 21

                   13   Becton, Dickinson & Co. v. Cytek Biosciences Inc.,
                           2020 WL 1877707 (N.D. Cal. Apr. 15, 2020) .................................................................... 9, 10
                   14
                        Bell Atl. Corp. v. Twombly,
                   15       550 U.S. 544 (2007) .................................................................................................................. 6
                   16   Berkic v. Crichton,
                   17      761 F.2d 1289 (9th Cir. 1985)................................................................................................. 10

                   18   Blizzard Ent., Inc. v. Lilith Games (Shanghai) Co.,
                            149 F. Supp. 3d 1167 (N.D. Cal. 2015) .................................................................................. 10
                   19
                        Block v. Major League Baseball,
                   20      65 Cal. App. 4th 538 (1998) ................................................................................................... 24
                   21   Brazil v. Dell Inc.,
                   22      585 F. Supp. 2d 1158 (N.D. Cal. 2008) .................................................................................. 21

                   23   Brookfield Commc’ns, Inc. v. W. Coast Entm’t Corp.,
                           174 F.3d 1036 (9th Cir. 1999)................................................................................................. 20
                   24
                        Bureerong v. Uvawas,
                   25      922 F. Supp. 1450 (C.D. Cal. 1996).......................................................................................... 6
                   26   Cavalier v. Random House, Inc.,
                           297 F.3d 815 (9th Cir. 2002)................................................................................................... 10
                   27

                   28   Colaprico v. Sun Microsystems, Inc.,
                           758 F. Supp. 1335 (N.D. Cal. 1991) ......................................................................................... 7
COOLEY LLP
ATTORNEYS AT LAW                                                                                                    DEFENDANT MIDJOURNEY’S NOTICE &
                                                                                             ii                      MOTION TO DISMISS AND/OR STRIKE
                                                                                                                         CASE NO.: 3:23-CV-00201-WHO
                          Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 4 of 35



                    1                                                     TABLE OF AUTHORITIES
                                                                                (Continued)
                    2                                                                                                                                           Page(s)

                    3   Columbia Pictures Indus., Inc. v. Fung,
                           710 F.3d 1020 (9th Cir. 2013)................................................................................................. 13
                    4
                        Dahlia v. Rodriguez,
                    5
                           735 F.3d 1060 (9th Cir. 2013)................................................................................................... 6
                    6
                        Daniels-Hall v. Nat’l Educ. Ass’n,
                    7      629 F.3d 992 (9th Cir. 2010)..................................................................................................... 6

                    8   Dastar Corp. v. Twentieth Century Fox Film Corp.,
                           539 U.S. 23 (2003) .................................................................................................................. 20
                    9
                        Destfino v. Reiswig,
                   10      630 F.3d 952 (9th Cir. 2011)................................................................................................... 16
                   11
                        Dolls Kill, Inc. v. Zoetop Bus. Co.,
                   12      2022 WL 16961477 (C.D. Cal. Aug. 25, 2022) ..................................................................... 15

                   13   Ellis v. Costco Wholesale Corp.,
                            657 F.3d 970 (9th Cir. 2011)................................................................................................... 25
                   14
                        Ellison v. Robertson,
                   15       357 F.3d 1072 (9th Cir. 2004)................................................................................................. 13
                   16   Fantasy, Inc. v. Fogerty,
                   17      984 F.2d 1524 (9th Cir. 1993)................................................................................................... 6

                   18   Feist Publ’ns, Inc. v. Rural Tel. Serv. Co.,
                           499 U.S. 340 (1991) .................................................................................................................. 7
                   19
                        Football Ass’n Premier League Ltd. v. YouTube, Inc.,
                   20      297 F.R.D. 64 (S.D.N.Y. 2013) ........................................................................................ 23, 24
                   21   Fourth Est. Pub. Benefit Corp. v. Wall-Street.com, LLC,
                   22      139 S. Ct. 881 (2019) ............................................................................................................ 7, 8

                   23   FPX, LLC v. Google, Inc.,
                          276 F.R.D. 543 (E.D. Tex. 2011) ............................................................................................ 23
                   24
                        Free Speech Sys., LLC v. Menzel,
                   25      390 F. Supp. 3d 1162 (N.D. Cal. 2019) .................................................................................. 15
                   26   Frost-Tsuji Architects v. Highway Inn, Inc.,
                           2015 WL 263556 (D. Haw. Jan. 21, 2015), aff’d, 700 F. App’x 674 (9th Cir.
                   27
                           2017) ....................................................................................................................................... 15
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                                        DEFENDANT MIDJOURNEY’S NOTICE &
                                                                                                iii                      MOTION TO DISMISS AND/OR STRIKE
                                                                                                                             CASE NO.: 3:23-CV-00201-WHO
                          Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 5 of 35



                    1                                                     TABLE OF AUTHORITIES
                                                                                (Continued)
                    2                                                                                                                                           Page(s)

                    3   General Tel. Co. of S.W. v. Falcon,
                           457 U.S. 147 (1982) ............................................................................................................ 7, 21
                    4
                        In re High-Tech Empl. Antitrust Litig.,
                    5
                            985 F. Supp. 2d 1167 (N.D. Cal. 2013) .................................................................................. 22
                    6
                        Hovsepian v. Apple, Inc.,
                    7      2009 WL 5069144 (N.D. Cal. Dec. 17, 2009) .................................................................... 7, 21

                    8   Huynh v. Jabil Inc.,
                           2023 WL 1802417 (N.D. Cal. Feb. 7, 2023) .......................................................................... 22
                    9
                        In re iPhone Application Litig.,
                   10       2011 WL 4403963 (N.D. Cal. Sept. 20, 2011) ....................................................................... 16
                   11
                        Izmo, Inc. v. Roadster, Inc.,
                   12      2019 WL 2359228 (N.D. Cal. June 4, 2019) ............................................................................ 8

                   13   Jules Jordan Video, Inc. v. 144942 Canada Inc.,
                            617 F.3d 1146 (9th Cir. 2010)................................................................................................. 19
                   14
                        Kevari v. Scottrade, Inc.,
                   15      2018 WL 6136822 (C.D. Cal. Aug. 31, 2018) ........................................................................ 25
                   16   Kifle v. YouTube LLC,
                   17       2021 WL 1530942 (N.D. Cal. Apr. 19, 2021) .......................................................................... 8

                   18   Kirk Kara Corp. v. W. Stone & Metal Corp.,
                           2020 WL 5991503 (C.D. Cal. Aug. 14, 2020) ........................................................................ 15
                   19
                        Lane v. Facebook, Inc.,
                   20      696 F.3d 811 (9th Cir. 2012)................................................................................................... 24
                   21   Lautemann v. Bird Rides, Inc.,
                   22      2019 WL 3037934 (C.D. Cal. May 31, 2019) ........................................................................ 25

                   23   Litchfield v. Spielberg,
                            736 F.2d 1352 (9th Cir. 1984)................................................................................................. 11
                   24
                        Malasky v. Esposito,
                   25      2019 WL 79032 (N.D. Cal. Jan. 2, 2019), aff’d, 781 F. App’x 643 (9th Cir.
                           2019) ....................................................................................................................................... 21
                   26
                        Maloney v. T3Media, Inc.,
                   27
                           853 F.3d 1004 (9th Cir. 2017)........................................................................................... 18, 19
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                                        DEFENDANT MIDJOURNEY’S NOTICE &
                                                                                                iv                       MOTION TO DISMISS AND/OR STRIKE
                                                                                                                             CASE NO.: 3:23-CV-00201-WHO
                          Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 6 of 35



                    1                                                 TABLE OF AUTHORITIES
                                                                            (Continued)
                    2                                                                                                                               Page(s)

                    3   Mangindin v. Wash. Mut. Bank,
                          637 F. Supp. 2d 700 (N.D. Cal. 2009) .................................................................................... 21
                    4
                        Manning v. Boston Med. Ctr. Corp.,
                    5
                          725 F.3d 34 (1st Cir. 2013) ..................................................................................................... 22
                    6
                        McDonald v. West,
                    7     138 F. Supp. 3d 448 (S.D.N.Y. 2015) ..................................................................................... 19

                    8   Mohanna v. Carrington Mortg. Servs. LLC,
                          2018 WL 3730419 (N.D. Cal. Aug. 6, 2018).......................................................................... 20
                    9
                        Montz v. Pilgrim Films & Television, Inc.,
                   10     649 F.3d 975 (9th Cir. 2011)................................................................................................... 19
                   11
                        MultiCraft Imports, Inc. v. Mariposa USA, Inc.,
                   12      2017 WL 5664996 (C.D. Cal. Sept. 14, 2017).................................................................... 9, 10

                   13   O’Neal v. Sideshow, Inc.,
                           583 F. Supp. 3d 1282 (C.D. Cal. 2022) .................................................................................. 15
                   14
                        Oracle Am., Inc. v. Hewlett Packard Enter. Co.,
                   15      823 F. App’x 516 (9th Cir. 2020) ........................................................................................... 20
                   16   Parziale v. HP, Inc.,
                   17      2020 WL 5798274 (N.D. Cal. Sept. 29, 2020) ....................................................................... 11

                   18   Perfect 10, Inc. v. Amazon.com, Inc.,
                           508 F.3d 1146 (9th Cir. 2007)........................................................................................... 12, 13
                   19
                        Perfect 10, Inc. v. Giganews, Inc.,
                   20      847 F.3d 657 (9th Cir. 2017)................................................................................................... 14
                   21   Perfect 10, Inc. v. Google, Inc.,
                   22      2010 WL 9479060 (C.D. Cal. July 30, 2010) ......................................................................... 18

                   23   Rice-Sherman v. Big Heart Pet Brands, Inc.,
                           2020 WL 1245130 (N.D. Cal. Mar. 16, 2020) (Orrick, J.) ..................................................... 22
                   24
                        Roblox Corp. v. Wowwee Group Ltd.,
                   25      2023 WL 2433970 (N.D. Cal. Mar. 9, 2023) ............................................................................ 8
                   26   Roth Greeting Cards v. United Card Co.,
                           429 F.2d 1106 (9th Cir. 1970)................................................................................................. 10
                   27

                   28   Ruegsegger v. Caliber Home Loans, Inc.,
                           2019 WL 8163640 (C.D. Cal. Jan. 8, 2019) ........................................................................... 21
COOLEY LLP
ATTORNEYS AT LAW                                                                                                DEFENDANT MIDJOURNEY’S NOTICE &
                                                                                          v                      MOTION TO DISMISS AND/OR STRIKE
                                                                                                                     CASE NO.: 3:23-CV-00201-WHO
                          Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 7 of 35



                    1                                                   TABLE OF AUTHORITIES
                                                                              (Continued)
                    2                                                                                                                                   Page(s)

                    3   Sanders v. Apple Inc.,
                           672 F. Supp. 2d 978 (N.D. Cal. 2009) .......................................................................... 7, 21, 22
                    4
                        Smith v. Weeknd,
                    5
                           2019 WL 6998666 (C.D. Cal. Aug. 23, 2019) ........................................................................ 14
                    6
                        Solano v. Playgirl, Inc.,
                    7      292 F.3d 1078 (9th Cir. 2002)................................................................................................. 17

                    8   Sollberger v. Wachovia Sec., LLC,
                            2010 WL 2674456 (C.D. Cal. June 30, 2010) ........................................................................ 16
                    9
                        Somers v. Apple, Inc.,
                   10      729 F.3d 953 (9th Cir. 2013)..................................................................................................... 6
                   11
                        Sound & Color, LLC v. Smith,
                   12      2023 WL 2821881 (C.D. Cal. Feb. 28, 2023) ......................................................................... 14

                   13   Stevens v. CoreLogic, Inc.,
                            899 F.3d 666 (9th Cir. 2018)............................................................................................. 15, 17
                   14
                        Stokes v. CitiMortgage, Inc.,
                   15      2015 WL 709201 (C.D. Cal. Jan. 16, 2015) ........................................................................... 22
                   16   Sybersound Records, Inc. v. UAV Corp.,
                   17      517 F.3d 1137 (9th Cir. 2008)................................................................................................. 20

                   18   Synopsys, Inc. v. ATopTech, Inc.,
                           2013 WL 5770542 (N.D. Cal. Oct. 24, 2013) ................................................................. 8, 9, 15
                   19
                        Technology & Intell. Prop. Strategies Grp. PC v. Fthenakis,
                   20      2011 WL 3501690 (N.D. Cal. Aug. 10, 2011)........................................................................ 21
                   21   Tietsworth v. Sears, Roebuck & Co.,
                   22       720 F. Supp. 2d 1123 (N.D. Cal. 2010) .................................................................................. 25

                   23   UAB “Planner5D” v. Facebook, Inc.,
                          2019 WL 6219223 (N.D. Cal. Nov. 21, 2019)...................................................................... 7, 8
                   24
                        Unicolors, Inc. v. H&M Hennes & Mauritz, L.P.,
                   25      595 U.S. 944 (2022) .................................................................................................................. 7
                   26   Vulcan Golf, LLC v. Google, Inc.,
                           254 F.R.D. 521 (N.D. Ill. 2008) ........................................................................................ 22, 23
                   27

                   28   Wal-Mart Stores, Inc. v. Dukes,
                           564 U.S. 338 (2011) .......................................................................................................... 23, 25
COOLEY LLP
ATTORNEYS AT LAW                                                                                                   DEFENDANT MIDJOURNEY’S NOTICE &
                                                                                            vi                      MOTION TO DISMISS AND/OR STRIKE
                                                                                                                        CASE NO.: 3:23-CV-00201-WHO
                          Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 8 of 35



                    1                                                      TABLE OF AUTHORITIES
                                                                                 (Continued)
                    2                                                                                                                                              Page(s)

                    3   White v. Samsung Elecs. Am., Inc.,
                           971 F.2d 1395 (9th Cir. 1992)................................................................................................. 17
                    4
                        Statutes
                    5

                    6   15 U.S.C.
                           § 1125 .................................................................................................................................. 4, 20
                    7
                        17 U.S.C.
                    8      § 102 .................................................................................................................................. 18, 19
                           § 103 ........................................................................................................................................ 18
                    9      § 106 ................................................................................................................................. passim
                           § 301 .................................................................................................................................. 18, 20
                   10
                           § 411 ...................................................................................................................................... 7, 8
                   11      § 412 ........................................................................................................................................ 24
                           §§ 1201–05 .......................................................................................................................... 4, 15
                   12      § 1202 ............................................................................................................................... passim
                   13   Cal. Bus. & Prof. Code §§ 17200 ....................................................................................... 4, 20, 21
                   14   Cal. Civ. Code
                           § 3344 .................................................................................................................................. 4, 17
                   15

                   16   Other Authorities

                   17   Fed. R. Civ. P.
                           8 ........................................................................................................................................... 9, 16
                   18      12(b)(6) ..................................................................................................................................... 6
                           12(f) ......................................................................................................................... 6, 21, 22, 25
                   19      23 ...................................................................................................................................... passim
                   20   4 NIMMER ON COPYRIGHT (2010)
                   21        § 19D.03 .................................................................................................................................. 19

                   22   3 NIMMER ON COPYRIGHT (2022)
                             § 8.09 ....................................................................................................................................... 12
                   23
                             § 8.14 ....................................................................................................................................... 12
                   24
                        2 PATRY ON COPYRIGHT § 4:14 ..................................................................................................... 19
                   25

                   26

                   27

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COOLEY LLP
ATTORNEYS AT LAW                                                                                                          DEFENDANT MIDJOURNEY’S NOTICE &
                                                                                                 vii                       MOTION TO DISMISS AND/OR STRIKE
                                                                                                                               CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 9 of 35



                    1             NOTICE OF MOTION AND MOTION TO DISMISS AND/OR STRIKE
                    2          PLEASE TAKE NOTICE that on July 19, 2023 at 2:00 p.m., at the San Francisco
                    3   Courthouse, 450 Golden Gate Avenue, San Francisco, California, in Courtroom 2, 17th Floor,
                    4   Defendant Midjourney, Inc. (“Midjourney”) will and hereby does move, pursuant to Rules 12(b)(6)
                    5   and 12(f) of the Federal Rules of Civil Procedure (“Rules”), to dismiss the Complaint (Dkt. 1).
                    6   This motion is based upon this Notice of Motion; the accompanying Memorandum of Points and
                    7   Authorities, Request for Judicial Notice and Consideration of Documents Incorporated by
                    8   Reference (“RJN”), Declaration of Judd D. Lauter (“Lauter Decl.”) and exhibits thereto; other
                    9   pleadings and papers on file in this action; and such other matters as may be presented to the Court
                   10   at the hearing.
                   11          STATEMENT OF RELIEF SOUGHT: Midjourney seeks an order: (a) dismissing all
                   12   claims against it under Rule 12(b)(6) on the ground that the Complaint fails to allege sufficient
                   13   facts to state plausible claim for relief; and (b) striking the class claims under Rule 12(f) on the
                   14   ground that it is evident from the Complaint that this case cannot be maintained as a class action.
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ATTORNEYS AT LAW                                                                         DEFENDANT MIDJOURNEY’S NOTICE &
                                                                        viii              MOTION TO DISMISS AND/OR STRIKE
                                                                                              CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 10 of 35



                    1                        MEMORANDUM OF POINTS AND AUTHORITIES
                    2   I.      INTRODUCTION
                    3           This case concerns artificial intelligence (“AI”) models designed to enhance human creativity.
                    4   Generative AI is a burgeoning technology in which software is trained to identify relationships and
                    5   patterns in data and generate new content (“output”), such as text, images, and audio, based on that
                    6   training. Some models are trained on vast text repositories to be able to predict the sequence of
                    7   words best suited to respond to a question, complete lines of code, or even create original stories
                    8   and songs. Other models, like those at issue here, are trained on millions or even billions of publicly
                    9   available images on the Internet to recognize the quintessential characteristics and dimensions of
                   10   the people, places, and things depicted in them, and, in turn, generate new images in response to
                   11   natural language text prompts (e.g., “a dog wearing a baseball cap while eating ice cream”).
                   12           As Plaintiffs concede, “none of the ... output images provided in response to a particular
                   13   Text Prompt is likely to be a close match for any specific image in the training data.” (¶ 93.)1 This
                   14   stands to reason, as any one image comprises an infinitesimal fragment of a model’s training, just
                   15   as each visual (every face, sunset, painting) an artist has ever perceived and every text a writer has
                   16   ever read comprises a tiny fraction of the content and imagery that inform their imagination.
                   17           Named plaintiffs in this putative class action are three visual artists who assert that their
                   18   rights were violated when their artwork was used to train Stable Diffusion, an open-source generative
                   19   AI platform. Plaintiffs further allege that Stable Diffusion was embedded as the “image-generating
                   20   engine” in “AI Image Products” offered by defendants Stability AI Ltd. and Stability AI, Inc.
                   21   (together, “Stability”), Midjourney, and DeviantArt, Inc. (collectively, “Defendants”), which can
                   22   be used to create images that infringe Plaintiffs’ works. Plaintiffs, however, fail to allege the most
                   23   basic facts necessary to state a claim against Midjourney—for themselves or any purported class.
                   24           To begin, the Complaint does not identify a single work by any Plaintiff that Midjourney
                   25   supposedly used as training data. Nor do Plaintiffs identify any image that has ever been generated
                   26   on the platform, let alone one that is actionably similar to their works. Absent such facts, they fail to
                   27   plead copyright infringement (irrespective of obvious fair use defenses, which Plaintiffs ignore).
                   28   1
                          Unless otherwise stated, citations to “¶_” and “Ex. ” are to the Complaint’s paragraphs and
COOLEY LLP
                        exhibits, all emphases are added, and internal citations and quotation marks are omitted.
ATTORNEYS AT LAW                                                                            DEFENDANT MIDJOURNEY’S NOTICE &
                                                                           1                 MOTION TO DISMISS AND/OR STRIKE
                                                                                                 CASE NO.: 3:23-CV-00201-WHO
                            Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 11 of 35



                    1   Further, the premise permeating the Complaint—that any images created with Defendants’ platforms
                    2   must constitute infringing “derivative works,” no matter how dissimilar they appear—badly misconstrues
                    3   the law. Two of the Plaintiffs do not even own a copyright registration, depriving them of standing.
                    4   The claims for direct and vicarious copyright infringement (Claims 1, 2) must be dismissed.
                    5           The same is true of all other claims against Midjourney. Claim 3—for violation of the Digital
                    6   Millennium Copyright Act (“DMCA”)—fails because, among other things, Plaintiffs do not identify
                    7   any copyright management information (“CMI”) that Midjourney purportedly altered or removed,
                    8   with the requisite scienter or otherwise. The right-of-publicity claims (Claims 4, 5) cannot survive,
                    9   as Plaintiffs plead no instance in which Midjourney has used their names or “artistic identities” for
                   10   any purpose and, in any case, the alleged misappropriation of their “identities” is just a repackaged
                   11   infringement claim preempted by the Copyright Act. Plaintiffs’ state law unfair competition claim
                   12   (Claim 6) fails for several reasons, including that it lacks a viable predicate violation and is preempted
                   13   to the extent it is based on copyright infringement. And their claim for declaratory relief (Claim 8)
                   14   simply mirrors Plaintiffs’ other (meritless) claims, rendering it both redundant and improper. In sum,
                   15   the claims are all generalized “noise” and no substance, necessitating dismissal.
                   16           Finally, even if Plaintiffs could state some cognizable, individual claim for relief, their class
                   17   claims should be stricken. Although Midjourney recognizes the Court’s reluctance to adjudicate
                   18   class allegations before the certification stage, the nature of the claims alleged, and the vast and
                   19   individualized permutations of fact and law that will need to be separately assessed as to “billions”
                   20   of alleged Works, renders this case facially unsuitable to class treatment under any class definition.
                   21   II.     SUMMARY OF RELEVANT FACTS AND ALLEGATIONS2
                   22           A.      Named Plaintiffs
                   23           Named plaintiffs Sarah Andersen, Kelly McKernan, and Karla Ortiz (together, “Plaintiffs”)
                   24   claim to be artists residing in Oregon, Tennessee, and California, respectively. (¶¶ 28–30.) The
                   25   Complaint alleges that each “created and owns” a “copyright interest” in “Works used as Training
                   26   Images.” (Id.)3 “Works” is defined to include “any image that was used to train any version of
                   27   2
                          Although the Complaint badly misconstrues the facts, Midjourney confines its discussion to the
                        facts as pleaded and those incorporated by reference or subject to judicial notice.
                        3
                   28     “Training Image” is defined to mean, in general, “an image, or image paired with a descriptive
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                        text caption, that is included among the training data for a machine-learning process.” (¶ 25.)
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                                                                            2                 MOTION TO DISMISS AND/OR STRIKE
                                                                                                  CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 12 of 35



                    1   Stable Diffusion that was offered directly and/or incorporated into another product by one or more
                    2   Defendants during the Class Period.” (¶ 27.) Although the Complaint provides URLs where
                    3   exemplar “Works” by Plaintiffs can allegedly be found (¶¶ 28–30 & nn.1–3), it does not specify
                    4   which images appearing at the corresponding webpages were created by Plaintiffs, and many
                    5   appear to be signed by or attributed to unrelated third parties. (Lauter Decl. ¶¶ 2–4 & Exs. A–C.)
                    6           Of the three named Plaintiffs, only Andersen claims to own a copyright registration. (¶ 28.)
                    7   The Complaint alleges that her registrations cover collections that “include Works used as Training
                    8   Images,” but does not identify any such Works or which registration(s) purportedly cover them. (Id.)
                    9           B.      Defendants and Their AI Image Products
                   10           According to Plaintiffs, this class action “concerns a DeviantArt software product called
                   11   DreamUp, a Midjourney software product, and a Stability software product called DreamStudio,
                   12   all of which are AI-Image Products and, upon information and belief, built on a Stability Software
                   13   Library called Stable Diffusion.” (¶ 50.) Each is described more fully below.
                   14           Stability: Plaintiffs allege that Stability “created, trained, and maintain[s] Stable
                   15   Diffusion,” an AI software product that “produces images in response to Text Prompts.”
                   16   (¶¶ 33, 52.) Stability allegedly released Stable Diffusion in August 2022 under a “permissive open-
                   17   source license” pursuant to which “programmers and users can download for free the software and
                   18   its associated machine-learning models derived from the Training Images.” (¶ 53.) That same
                   19   month, Stability allegedly released DreamStudio, a web-based platform through which Stable
                   20   Diffusion can be accessed. (¶ 55.) The Complaint alleges there have been at least five “major
                   21   releases” of Stable Diffusion but does not distinguish between these versions. (¶ 52.)
                   22           Plaintiffs claim that “Stability scraped, and thereby copied over five billion images from
                   23   websites as the Training Images used as training data for Stable Diffusion” without negotiating
                   24   licenses or seeking consent from the creators. (¶¶ 57, 58.) Stable Diffusion was allegedly trained
                   25   using a two-part “diffusion technique” using “complicated mathematics, linear algebra, and a series
                   26   of algorithms” to first recognize addition of “noise” (unstructured, random data) to these images, and
                   27   to then “denoise” the data to generate new “images that are similar to those found in its training data.”
                   28   (¶¶ 66–70.) Plaintiffs further claim that, “[b]y training Stable Diffusion on the Training Images,
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                                                                           3                 MOTION TO DISMISS AND/OR STRIKE
                                                                                                 CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 13 of 35



                    1   Stability caused those images to be stored at and incorporated into Stable Diffusion as compressed
                    2   copies,” which it then uses “in generating its output in response to Text Prompts.” (¶¶ 3, 58, 59.)
                    3          DeviantArt: DeviantArt was founded in 2000 as an online community where digital artists
                    4   post and share their work. (¶ 62.) Plaintiffs claim that “[t]housands—and possibly millions—of
                    5   the Training Images” Stability used to train Stable Diffusion were “copied from DeviantArt.”
                    6   (¶ 63.) Plaintiffs further claim that DeviantArt “created, sells, markets and distributes DreamUp,”
                    7   a commercial product released in November 2022 that “relies on Sable Diffusion to produce
                    8   images.” (¶ 35; see ¶ 129 (quoting DeviantArt’s CEO on use of Stable Diffusion in DreamUp).)
                    9          Midjourney: Midjourney is a San Francisco-based company with only “11 full-time staff.”
                   10   (¶¶ 34, 132, 133; see also Lauter Ex. D (describing Midjourney as a “small self-funded team”).)
                   11   Midjourney “created, sells, markets and distributes” an “online AI-based image generator” of the
                   12   same name, that uses “Text Prompts as input and produces digital images as output.” (¶¶ 34, 134.)
                   13          Many of the allegations about Midjourney are internally inconsistent. For example, the
                   14   Complaint simultaneously alleges that its product was first released in beta on three different
                   15   dates—March, July and August 2022. (¶¶ 61, 135, 149.) It also alleges (without actual or stated basis)
                   16   that “Midjourney relies on Stable Diffusion as its underlying software engine for generating images”
                   17   (¶ 134), elsewhere asserting that only some “iterations” “used” Stable Diffusion (¶ 34) and, later,
                   18   that the alleged August 2022 beta version did so (¶ 149). Plaintiffs also plead on information and
                   19   belief that “the version of the Midjourney Product currently available was trained on a subset of
                   20   the images used to train Stable Diffusion,” but do not say what that subset consisted of, or when,
                   21   how, or by whom this training was supposedly implemented. (¶ 34.) Notably, Plaintiffs do not
                   22   allege that Midjourney has ever trained any version of its platform on any Work belonging to them.
                   23          C.      Plaintiffs’ Hodgepodge Theories of Wrongdoing
                   24          Plaintiffs filed this suit in January 2023, alleging claims against all Defendants for: (1/2) direct
                   25   and vicarious copyright infringement (17 U.S.C. § 106); (3) violation of the DMCA (17 U.S.C.
                   26   §§ 1201–05); (4/5) violation of their rights of publicity (Cal. Civ. Code § 3344; common law);
                   27   (6) unfair competition (15 U.S.C. § 1125; Cal. Bus. & Prof. Code §§ 17200 et seq. (“UCL”); common
                   28   law); and (8) declaratory relief. Claim 7, for breach of contract, is asserted against DeviantArt only.
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                                                                            4                 MOTION TO DISMISS AND/OR STRIKE
                                                                                                  CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 14 of 35



                    1          Copyright Infringement (Claims 1, 2): The thrust of the copyright claims is that Plaintiffs’
                    2   “copyright interest[s]” in unidentified Works were violated when, without their permission, Stability
                    3   allegedly used those Works to train Stable Diffusion and Defendants then allegedly incorporated
                    4   Stable Diffusion as an “embedded image-generating engine” in their AI Image Products to enable
                    5   users to create images. (¶¶ 2–4, 27, 65.) Plaintiffs also claim that, by virtue of how Stable Diffusion
                    6   works, every output from Defendants’ platforms must be unauthorized “derivative work[s]” (¶¶ 4,
                    7   18, 20, 95), even though, by Plaintiffs’ admission, “none” of the images generated “is likely to be
                    8   a close match for any specific image in the training data” (¶ 93). Plaintiffs assert that all Defendants
                    9   are both directly liable for this conduct, and vicariously liable for images generated in response to
                   10   user text prompts that include Plaintiffs’ names (deemed “Fakes”). (¶¶ 171–72.) The Complaint
                   11   does not identify any instance in which Midjourney’s platform was used to create a “Fake.”
                   12          DMCA (Claim 3): Plaintiffs accuse all Defendants of violating the DMCA by “remov[ing]
                   13   or alter[ing] CMI from images that are owned by Plaintiffs and the Class by training Stable
                   14   Diffusion on those images and designing it to omit any CMI as part of the output.” (¶ 183.) Yet,
                   15   Plaintiffs elsewhere allege that only Stability (not Midjourney) trained and designed Stable Diffusion.
                   16   (¶¶ 1–3, 25, 33, 57–58, 107.) Plaintiffs do not allege that Midjourney trained its own product on any
                   17   Works of Plaintiffs, identify no CMI that it allegedly removed or altered in training, and identify no
                   18   output from the Midjourney platform from which any purported CMI was removed or altered.
                   19          Right of Publicity (Claims 4, 5): Plaintiffs claim that Defendants are violating their statutory
                   20   and common law rights of publicity because platform users “can use” an “artist’s name to generate
                   21   new works in the artist’s style” by including it in a text prompt; AI-generated works “in the style
                   22   of” unidentified artists are “already sold on the internet”; and this “siphon[s] commissions from the
                   23   artists.” (¶¶ 5, 8, 203, 218.) The Complaint also includes generalized allegations that Defendants
                   24   use Plaintiffs’ names and “artistic identities” to advertise and promote their AI platforms. (¶¶ 205,
                   25   217, 219.) Plaintiffs, however, do not cite a single example of Midjourney ever doing any of this.
                   26          Unfair Competition/Declaratory Relief (Claims 6, 8): Plaintiffs allege that Defendants
                   27   committed unfair competition by infringing Plaintiffs’ copyrights and violating the DMCA (¶ 224),
                   28   and that Plaintiffs are entitled to a declaration judgment as to these identical violations (¶ 239).
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                                                                           5                MOTION TO DISMISS AND/OR STRIKE
                                                                                                CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 15 of 35



                    1          D.      Plaintiffs’ Class Allegations
                    2          In addition to their own interests, Plaintiffs seek to represent three putative “Classes,” namely:

                    3          (a) an “Injunctive Relief Class” comprised of:

                    4          All persons or entities nationalized and/or domiciled in the United States that own a
                               copyright interest in any work that was used to train any version of an AI Image
                    5          Product that was offered directly and/or incorporated into another product by one or
                    6          more Defendants during the Class Period.

                    7          (b) a “Damages Class,” which inexplicably has the identical definition; and

                    8          (c) a “DeviantArt Damages Subclass,” which pertains to Deviant Art only, not Midjourney.

                    9          Plaintiffs also refer to a “Class Period” (¶¶ 27–30, 41) that is never alleged or defined.

                   10   III.   LEGAL STANDARDS

                   11          A.      Motions to Dismiss Under Rule 12(b)6)

                   12          “Dismissal under Rule 12(b)(6) is proper when the complaint either (1) lacks a cognizable

                   13   legal theory or (2) fails to allege sufficient facts to support a cognizable legal theory.” Somers v.

                   14   Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013). To survive dismissal, a complaint must plead

                   15   “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

                   16   550 U.S. 544, 570 (2007). In assessing plausibility, a court need not “accept as true allegations that

                   17   contradict exhibits attached to the Complaint or matters properly subject to judicial notice, or

                   18   allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable inferences.”

                   19   Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010); Dahlia v. Rodriguez, 735 F.3d

                   20   1060, 1076 (9th Cir. 2013) (same); Twombly, 550 U.S. at 555 (“[C]ourts are not bound to accept as

                   21   true a legal conclusion couched as a factual allegation.”). “Where a complaint pleads facts that are

                   22   merely consistent with a defendant’s liability, it stops short of the line between possibility and

                   23   plausibility of entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                   24          B.      Motions to Strike Under Rule 12(f)

                   25          Rule 12(f) allows a court to strike from a pleading “any redundant, immaterial, impertinent,

                   26   or scandalous matter.” Fed. R. Civ. P. 12(f). Motions to strike serve to “avoid the expenditure of

                   27   time and money that must arise from litigating spurious issues by dispensing with those issues prior

                   28   to trial.” Bureerong v. Uvawas, 922 F. Supp. 1450, 1478 (C.D. Cal. 1996) (quoting Fantasy, Inc.
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                                                                           6                 MOTION TO DISMISS AND/OR STRIKE
                                                                                                 CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 16 of 35



                    1   v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993)). Motions to strike may be granted where “it is
                    2   clear that the matter to be stricken could have no possible bearing on the subject matter of the
                    3   litigation.” Colaprico v. Sun Microsystems, Inc., 758 F. Supp. 1335, 1339 (N.D. Cal. 1991). As the
                    4   Supreme Court has explained in the context of class claims, “[s]ometimes the issues are plain
                    5   enough from the pleadings to determine whether the interests of the absent parties are fairly
                    6   encompassed within the named plaintiff’s claim.” General Tel. Co. of S.W. v. Falcon, 457 U.S.
                    7   147, 160 (1982). Where the complaint demonstrates that a class action cannot be maintained on
                    8   the facts alleged, courts have granted motions to strike class allegations at the pleading stage. See
                    9   Sanders v. Apple Inc., 672 F. Supp. 2d 978, 990–91 (N.D. Cal. 2009) (granting motion to strike
                   10   class); Hovsepian v. Apple, Inc., 2009 WL 5069144, at *6 (N.D. Cal. Dec. 17, 2009) (same).
                   11   IV.    ALL CLAIMS AGAINST MIDJOURNEY SHOULD BE DISMISSED
                   12          A.      Plaintiffs Fail to Adequately Plead Direct or Vicarious Copyright Infringement
                                       (Claims 1, 2)
                   13

                   14          To establish copyright infringement, a plaintiff must plead and prove both: “(1) ownership
                   15   of a valid copyright, and (2) copying of constituent elements of the work that are original.” Feist
                   16   Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). The Complaint pleads neither.
                   17                  1.      Plaintiffs do not allege valid copyright registrations for their Works
                   18          As a threshold matter, the direct and vicarious copyright infringement claims by Plaintiffs
                   19   McKernan and Ortiz must be dismissed for lack of a registration. “The first element of a copyright
                   20   claim requires a plaintiff to plausibly allege that it owns a valid copyright registration.” UAB
                   21   “Planner5D” v. Facebook, Inc., 2019 WL 6219223 *5 (N.D. Cal. Nov. 21, 2019) (Orrick, J.). A
                   22   valid registration is a “prerequisite for bringing a ‘civil action for infringement’ of the copyrighted
                   23   work.” Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 595 U.S. 944 (2022) (quoting 17 U.S.C.
                   24   §411(a)); Fourth Est. Pub. Benefit Corp. v. Wall-Street.com, LLC, 139 S. Ct. 881, 885 (2019) (same).
                   25          Here, the Complaint alleges that McKernan and Ortiz own unspecified “copyright interests”
                   26   in unidentified Works (¶¶ 29, 30), but does not plead that either holds a copyright registration for
                   27   any works, let alone any Works at issue here. It is blackletter law that, having failed to plead
                   28   ownership of a copyright registration, McKernan and Ortiz’s copyright infringement claims must
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                                                                          7                 MOTION TO DISMISS AND/OR STRIKE
                                                                                                CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 17 of 35



                    1   be dismissed. See Roblox Corp. v. Wowwee Grp. Ltd., 2023 WL 2433970, at *4 (N.D. Cal. Mar.
                    2   9, 2023) (dismissing copyright infringement claims for failure to plead a registration as required by
                    3   § 411(a)); Kifle v. YouTube LLC, 2021 WL 1530942, at *6 (N.D. Cal. Apr. 19, 2021) (same).
                    4          Although the Complaint alleges that the third Plaintiff, Andersen, owns various copyright
                    5   registrations “for sixteen collections that include Works used as Training Images” (¶ 28), it does
                    6   not identify which Works at issue are covered by those Registrations, which is impossible to discern
                    7   from the Registrations themselves. (See Exs. 1–16.) It also does not allege that any of those
                    8   registrations cover Works allegedly copied or used by Midjourney. As such, the Complaint fails to
                    9   adequately identify any registered Work that Midjourney is supposed to have infringed.
                   10          If the Court grants Andersen leave to amend, she should be required to plead facts
                   11   establishing registration of specific at-issue Works. However, claims related to any of Andersen’s
                   12   unregistered Works and all claims alleged by McKernan and Ortiz must be dismissed with
                   13   prejudice. “A plaintiff cannot cure its failure to meet the preconditions set forth in 17 U.S.C.
                   14   § 411(a) by amending [its] complaint.” UAB “Planner 5D”, 2019 WL 6219223, at *7 (citing Izmo,
                   15   Inc. v. Roadster, Inc., 2019 WL 2359228, at *2 (N.D. Cal. June 4, 2019)). Rather, “[t]he Supreme
                   16   Court has made clear that the registration requirement of § 411(a) was ‘akin to an administrative
                   17   exhaustion requirement that the owner must satisfy before suing to enforce ownership rights.’”
                   18   Izmo, 2019 WL 2359228, at *2 (quoting Fourth Estate, 139 S. Ct. at 887). Allowing Plaintiffs to
                   19   amend to plead registrations obtained after filing suit “would undermine the objectives animating
                   20   the Supreme Court’s decision in Fourth Estate.” Id.; see Roblox, 2023 WL 2433970, at *4 (same).
                   21                  2.      Plaintiffs fail to plead infringement by Midjourney
                   22          All Plaintiffs’ copyright infringement claims, direct and vicarious, fail as a matter of law
                   23   for the additional reason that Plaintiffs do not identify a single registered “Work” that was used by
                   24   Midjourney to train its platform, or any allegedly infringing image generated as output.
                   25          A copyright plaintiff “must plead some non-speculative facts about what [the defendant]
                   26   infringed and how.” Synopsys, Inc. v. ATopTech, Inc., 2013 WL 5770542, at *4 (N.D. Cal. Oct.
                   27   24, 2013). Vague claims that “never make clear what [was] copied” or never describe the “works
                   28   that infringe [plaintiff’s] [c]opyright” fail to put a defendant on fair notice of the claim against it.
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                                                                           8                MOTION TO DISMISS AND/OR STRIKE
                                                                                                CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 18 of 35



                    1   Id. (dismissing for failure to satisfy Rule 8). For example, in Becton, Dickinson & Co. v. Cytek
                    2   Biosciences Inc., Judge Chesney dismissed a claim for infringement of medical software and
                    3   manuals as the complaint did not describe what was copied and “in what [defendant] document or
                    4   software such copying is manifest.” 2020 WL 1877707, at *6 (N.D. Cal. Apr. 15, 2020) (citing
                    5   MultiCraft Imports, Inc. v. Mariposa USA, Inc., 2017 WL 5664996, at *3 (C.D. Cal. Sept. 14, 2017)).
                    6          The allegations against Midjourney are likewise fatally deficient regarding both the Works
                    7   Midjourney purportedly infringed and the allegedly infringing output its users purportedly created.
                    8          Failure to plead infringement of input: Plaintiffs claim in generalized terms that all
                    9   “Defendants” directly infringed their Works by using them as training images. (¶¶ 155–57.)
                   10   However, “Works” is defined as “any image that was used to train any version of Stable Diffusion.”
                   11   (¶ 27.) Only Stability is alleged to have trained Stable Diffusion (¶¶ 1–3, 25, 33, 57–58, 107), not
                   12   Midjourney. To the extent Plaintiffs’ direct infringement claims are predicated on use of their
                   13   images to train Stable Diffusion, Plaintiffs fail to state a claim against Midjourney.
                   14          Plaintiffs’ conclusory allegations that Midjourney made unauthorized use of publicly
                   15   accessible images to train its own platform fare no better. Plaintiffs plead on information and belief
                   16   that “the version of the Midjourney Product currently available was trained on a subset of the
                   17   [billions of] images used to train Stable Diffusion.” (¶ 34; see also ¶¶ 2, 25.) Plaintiffs also plead
                   18   that “Midjourney relies on appropriating millions of copyrighted images created by artists and using
                   19   these images as Training Images” (¶ 144) and that Midjourney has been “helping themselves to
                   20   millions of copyrighted works for free” (¶ 152). But nowhere does the Complaint plead what was
                   21   in this “subset” of training material, or that it included even one work by Plaintiffs. The absence
                   22   of well-pleaded factual allegations establishing use by Midjourney of any of Plaintiffs’ artwork is
                   23   fatal to their claims. Synopsys, 2013 WL 5770542, at *4.
                   24          Failure to identify allegedly infringing output: Plaintiffs, obliquely, also appear to allege
                   25   that Defendants are directly liable for infringing images created by users because their platforms
                   26   “generate digital images and other output that are derived exclusively from the Training Images,
                   27   and that add nothing new.” (¶ 164; see ¶¶ 158, 160 (alleging Defendants directly infringed
                   28   Plaintiffs’ rights by reproducing, distributing, performing, and displaying “one or more of the
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                                                                          9                MOTION TO DISMISS AND/OR STRIKE
                                                                                               CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 19 of 35



                    1   Works” and by “prepar[ing] Derivative Works”).)            Plaintiffs also separately allege that all
                    2   Defendants are vicariously liable for their users’ creation and sale of “Fakes.” (¶¶ 171–73.) Yet
                    3   the Complaint does not identify a single alleged “Derivative Work” or “Fake” generated using the
                    4   Midjourney platform.      That is, the Complaint does not plead any example of output from
                    5   Midjourney’s platform that allegedly infringes Plaintiffs’ rights. This, too, is fatal to their claims.
                    6          Just as Plaintiffs are required to plead which Works were infringed, they must also identify
                    7   the works that are allegedly infringing. See Becton, 2020 WL 1877707, at * 4. Among other things,
                    8   this enables the Court to consider whether there is substantial similarity between the accused work
                    9   and the protectable elements of Plaintiffs’ Works, as required to establish infringement. MultiCraft
                   10   Imports, 2017 WL 5664996, at *4. Where, as here, a complaint lacks “allegations of even
                   11   representative infringements, [it] fails to provide notice as a matter of law.” Id. at *3; see also,
                   12   Blizzard Ent’mt., Inc. v. Lilith Games (Shanghai) Co., 149 F. Supp. 3d 1167, 1175 (N.D. Cal. 2015)
                   13   (dismissing claim lacking allegations identifying “representative acts of infringement”).
                   14          Plaintiffs’ failure to identify any allegedly infringing output requires dismissal for a related
                   15   reason: they do not allege the requisite substantial similarity of protected expression. Infringement
                   16   requires “substantial similarity between the infringing work and the work copyrighted; and that
                   17   similarity must have been caused by the defendant’s having copied the copyright holder’s
                   18   creation.” Roth Greeting Cards v. United Card Co., 429 F.2d 1106, 1110 (9th Cir. 1970). To
                   19   assess substantial similarity, the Ninth Circuit applies a two-part test. Cavalier v. Random House,
                   20   Inc., 297 F.3d 815, 822 (9th Cir. 2002). The “extrinsic test” is an “objective comparison of specific
                   21   expressive elements”; it focuses on the “articulable similarities” between two works’ “protectible
                   22   elements, standing alone.” Id. (emphasis in original); see also Berkic v. Crichton, 761 F.2d 1289,
                   23   1293–94 (9th Cir. 1985) (excluding ideas and scenes-a-faire in assessing substantial similarity).
                   24   The “intrinsic test,” a subjective comparison, focuses on “whether the ordinary, reasonable audience
                   25   would find the works substantially similar” in “total concept and feel.” Cavalier, 297 F.3d at 822.
                   26          Here, Plaintiffs do not even attempt to plead in conclusory terms that any images generated
                   27   using Midjourney’s platform are substantially similar to any of Plaintiffs’ Works, intrinsically or
                   28   extrinsically. Rather, they affirmatively plead just the opposite. (See ¶¶ 93 (“none of the [] output
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                                                                          10                MOTION TO DISMISS AND/OR STRIKE
                                                                                                CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 20 of 35



                    1   images … is likely to be a close match”), 192–93 (output is so dissimilar from asserted Works that
                    2   it would be “impossible” for Plaintiffs to identify them without CMI).) Plaintiffs’ copyright claims,
                    3   thus, fail out of the gate to the extent premised on Midjourney output. Moreover, Plaintiffs cannot
                    4   cure this defect by amendment, as it would require them to contradict their own pleading. See Airs
                    5   Aromatics, LLC v. Victoria’s Secret Stores Brand Mgmt., Inc., 744 F.3d 595, 600 (9th Cir. 2014)
                    6   (explaining that amendments that contradict an earlier pleading are impermissible); see also
                    7   Parziale v. HP, Inc., 2020 WL 5798274, at *7 (N.D. Cal. Sept. 29, 2020) (dismissing copyright
                    8   claim with prejudice and collecting cases). Dismissal should be with prejudice.
                    9                   3.      Plaintiffs fail to allege cognizable violations of rights to prepare
                                                derivative works and to perform works
                   10

                   11           Plaintiffs’ claims that Midjourney infringed their exclusive rights to prepare derivative
                   12   works and to perform their Works (¶¶ 160(b), (d)) fail as a matter of law and should be dismissed.
                   13           Preparation of derivative works (17 U.S.C. § 106(2)): At the heart of Plaintiffs’
                   14   copyright infringement theory is the fallacy that because each output image generated using
                   15   Midjourney is, in a colloquial sense, “derived” from images used to train its model, every such image
                   16   is “necessarily a derivative work.” (¶ 95; see also ¶ 18 (defining “Derivative Work” as “output of
                   17   AI Image Products,” without qualification), ¶ 4 (alleging that “‘new’ images are based entirely on
                   18   the Training Images and are derivative works”), ¶ 20 (defining “Generative AI” as a “program
                   19   [that] copies training data and uses it to produce derivative works of that training data”).) Plaintiffs’
                   20   gross mischaracterization as to how Defendants’ respective platforms operate aside, this reasoning
                   21   betrays a fundamental misunderstanding of the meaning of “derivative work” as a legal term of art.
                   22           A derivative work is one which is “substantially copied” from a prior work. Litchfield v.
                   23   Spielberg, 736 F.2d 1352, 1357 (9th Cir. 1984) (upholding judgment that no reasonable jury could
                   24   find alleged derivative work was substantially similar to original). “All works are derived to a
                   25   certain degree from pre-existing works. A derivative work within the meaning of the copyright
                   26   law, however, is one which substantially borrows the expression of ideas from an existing work.”
                   27   Apple Comput., Inc. v. Microsoft Corp., 759 F. Supp. 1444, 1454 (N.D. Cal. 1991), on
                   28   reconsideration, 779 F. Supp. 133 (N.D. Cal. 1991), and aff’d, 35 F.3d 1435 (9th Cir. 1994). Unless
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                                                                           11                MOTION TO DISMISS AND/OR STRIKE
                                                                                                 CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 21 of 35



                    1   a purported derivative work “is substantially similar to its forbear, it [is] nonactionable.” 2 Nimmer
                    2   on Copyright § 8.09 (2022).
                    3           As discussed above, Plaintiffs do not, and cannot, allege that every image generated using
                    4   the Midjourney platform is substantially similar to any particular training image. Again, they allege
                    5   the opposite, going so far as to suggest that, without CMI, even Plaintiffs cannot tell by looking at
                    6   any output whether it might be based on their Works. (¶¶ 93, 192–93.) Plaintiffs thus falsely
                    7   equivocate between “derivative work” as a copyright concept, and “derivative work” as a term they
                    8   made up to describe all output created by Defendants’ users. Any infringement claims relying on
                    9   the former concept must be dismissed for failure to identify a single output by Midjourney that
                   10   allegedly looks anything like Plaintiffs’ Works. Any infringement claims relying on the latter,
                   11   manufactured-for-litigation concept are not cognizable and fail as a matter of law.
                   12           Performance (17 U.S.C. § 106(4)): Plaintiffs allege that Midjourney has directly infringed
                   13   their exclusive rights by “perform[ing] one or more of the Works publicly in violation of 17 U.S.C.
                   14   § 106(4)” (¶ 160(d)), but the performance right does not apply to static images. By statute, the right
                   15   is expressly limited to “literary, musical, dramatic, and choreographic works, pantomimes, and
                   16   motion pictures and other audiovisual works.” 17 U.S.C. § 106(4). “Pictorial” works, such as
                   17   photographs, paintings, illustrations (i.e., Plaintiffs’ alleged “Works” here), are categorically
                   18   excluded because it is impossible to “perform” them. 2 Nimmer on Copyright § 8.14 (2022).
                   19   Plaintiffs ignore this basic distinction in attempting to invoke non-existent “performance” rights.
                   20                   4.      Plaintiffs fail to plead a viable claim for vicarious infringement
                   21           Plaintiffs’ claim for vicarious copyright infringement fails for two additional reasons: (1) they
                   22   do not plead facts establishing any of the elements of the claim, and (2) they plead both direct and
                   23   vicarious liability based on the same alleged conduct, which is impermissible as a matter of law.
                   24           Deficient pleading: To plead vicarious infringement, Plaintiffs must allege facts plausibly
                   25   establishing that (1) another party has engaged in direct infringement; (2) Midjourney exercises control
                   26   over (i.e., has “the right and ability to supervise”) that infringing conduct; and (3) Midjourney has a
                   27   direct financial interest in the infringing activity. Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146,
                   28   1173 (9th Cir. 2007). Plaintiffs fail to allege facts sufficient to satisfy any of these elements.
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                                                                           12                 MOTION TO DISMISS AND/OR STRIKE
                                                                                                  CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 22 of 35



                    1          The premise of Plaintiffs’ vicarious infringement theory is that unnamed “[i]ndividuals
                    2   [deemed “Imposters”] have used AI Image Products to create works using the names of Plaintiffs
                    3   and the Class in prompts” (so-called “Fakes), that “can pass as original works by that artist.”
                    4   (¶ 171.) As discussed above, however, Plaintiffs have not identified a single allegedly infringing
                    5   output or purported “Fake,” much less one generated by a Midjourney user inputting any Plaintiff’s
                    6   name into a prompt. Nor is there any pleaded basis to conclude that any so-called “Fake” generated
                    7   in response to such a prompt is or would be substantially similar to any Plaintiff’s Work. Whether
                    8   one’s work “can pass” as that of another artist is irrelevant if there is no substantial similarity in
                    9   protected expression. Accordingly, Plaintiffs fail to plead an act of direct infringement by another
                   10   party—the first, most basic element of a claim for vicarious infringement.
                   11          The second element required Plaintiffs to plead that Midjourney has the “legal right to stop
                   12   or limit the directly infringing conduct, as well as the practical ability to do so.” Perfect 10, 508
                   13   F.3d at 1173. The Complaint alleges no such thing.
                   14          Regarding the third element, Plaintiffs offer the conclusory statement that “Defendants have
                   15   directly and indirectly profited from acts of infringement by Imposters.” (¶ 176.) This is nothing
                   16   more than a recitation of an element of the claim and is “not entitled to the assumption of truth.”
                   17   Iqbal, 556 U.S. at 664. The Complaint elsewhere alleges that Midjourney receives revenue from
                   18   monthly subscription fees (e.g., ¶¶ 137, 138, 152), but this is no help to Plaintiffs either. A service
                   19   provider receives a “direct financial benefit” from infringing activity for purposes of vicarious
                   20   infringement only where “there is a causal relationship between the infringing activity and any
                   21   financial benefit a defendant reaps.” Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1044
                   22   (9th Cir. 2013) (quoting Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir. 2004)). In other words,
                   23   “[f]inancial benefit exists where the availability of infringing material acts as a ‘draw’ for
                   24   customers.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1023 (9th Cir. 2001). Conversely,
                   25   “flat periodic payments for service” like those paid by Midjourney users, “[ordinarily] would not
                   26   constitute receiving a financial benefit directly attributable to the infringing activity” for purposes
                   27   of establishing vicarious liability. Ellison, 357 F.3d at 1079 (quoting S. Rep. 105-190). Thus,
                   28   Plaintiffs fail to plead facts sufficient to establish any of the elements of vicarious infringement.
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                                                                          13                MOTION TO DISMISS AND/OR STRIKE
                                                                                                CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 23 of 35



                    1          Contradictory pleading: Plaintiffs may seek leave to address these pleading defects by
                    2   amendment, but amendment would be futile. Plaintiffs allege that the same acts purportedly giving
                    3   rise to their claim for vicarious infringement also constitute direct infringement by Midjourney,
                    4   foreclosing any claim for relief based on a secondary liability theory as a matter of law.
                    5          Direct copyright infringement requires “that the alleged infringers violated at least one
                    6   exclusive right granted to copyright holders under 17 U.S.C. § 106.” Perfect 10, Inc. v. Giganews,
                    7   Inc., 847 F.3d 657, 666 (9th Cir. 2017). In contrast, vicarious infringement imposes liability for
                    8   another’s direct infringement. See Napster, 239 F.3d at 1013 n.2 (“Secondary liability … does not
                    9   exist in the absence of direct infringement by a third party.”). By law, a defendant cannot be both
                   10   directly and vicariously liable for the same allegedly infringing act. For example, in Sound &
                   11   Color, LLC v. Smith, the plaintiff brought direct and secondary infringement claims relating to the
                   12   creation of a purportedly infringing song. 2023 WL 2821881, at *2 (C.D. Cal. Feb. 28, 2023). The
                   13   court granted dismissal of the secondary infringement claims, explaining that defendants “cannot
                   14   be secondarily liable for their own direct infringement.” Id. at *47–48; see also Smith v. Weeknd,
                   15   2019 WL 6998666, at *1–3 (C.D. Cal. Aug. 23, 2019) (same, dismissing claims).
                   16          In this case, Plaintiffs assert that all Defendants, including Midjourney, directly infringe
                   17   Plaintiffs’ rights when their platforms generate images in response to user prompts. (See ¶¶ 156–
                   18   60.) Plaintiffs’ vicarious infringement claims concern a subset of those images, namely, those
                   19   created by “using the names of Plaintiffs and the Class in prompts.” (¶¶ 171–75.) Having asserted
                   20   that any use of Midjourney to generate images necessarily results in an infringing “Derivative
                   21   Work” and thus constitutes direct infringement by Midjourney (¶¶ 95, 158), Plaintiffs’ attempt to
                   22   hold Midjourney vicariously liable for that same conduct must be dismissed with prejudice.
                   23          B.      Plaintiffs Fail to Adequately Plead a Violation of the DMCA (Claim 3)
                   24          Plaintiffs claim that Midjourney has violated the DMCA (17 U.S.C. § 1202(b)) by removing
                   25   or altering CMI from Plaintiffs’ Works. (¶ 191.) To state a claim under § 1202(b), a plaintiff must
                   26   plausibly allege: (1) the existence of CMI on a copyrighted work; (2) removal or alteration of that
                   27   CMI; (3) the removal or alteration was done “intentionally”; and (4) the removal or alteration was
                   28   committed “knowing, or, … having reasonable grounds to know that it would induce, enable,
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                                                                         14                MOTION TO DISMISS AND/OR STRIKE
                                                                                               CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 24 of 35



                    1   facilitate, or conceal” copyright infringement. 17 U.S.C. § 1202(b); Stevens v. CoreLogic, Inc.,
                    2   899 F.3d 666, 673 (9th Cir. 2018). For the reasons set forth below, Plaintiffs have failed to
                    3   adequately plead that Midjourney removed or altered CMI or did so with the requisite scienter.
                    4                  1.       Plaintiffs identify no Work from which CMI was altered or removed
                    5          Plaintiffs fail to allege a single example of any of their Works from which CMI was
                    6   removed or altered. As such, they fail to allege facts sufficient to plead the second element,
                    7   warranting dismissal. See Free Speech Sys., LLC v. Menzel, 390 F. Supp. 3d 1162, 1175 (N.D. Cal.
                    8   2019) (Orrick, J). In Menzel, this Court considered conclusory claims regarding removal and
                    9   distribution of CMI alleged by the counter-plaintiff, a photographer. Id. The Court dismissed the
                   10   § 1202(b) claims, reasoning that because the photographer “merely alleged that his photographs
                   11   ‘were altered to remove certain of [his] copyright management information’ without providing any
                   12   facts to identify which photographs had CMI removed,” he failed to state a plausible claim for
                   13   relief. Id. The same result should obtain here. Id.; see also Synopsys, 2013 WL 5770542, at *4.
                   14          Plaintiffs’ defective DMCA claim cannot be cured by amendment. Plaintiffs were required
                   15   to plead specific instances in which CMI was altered or removed from originals of their Works,
                   16   Dolls Kill, Inc. v. Zoetop Bus. Co., 2022 WL 16961477, at *3–4 (C.D. Cal. Aug. 25, 2022) (holding
                   17   that § 1201(b)(1) requires removal or alteration of CMI from originals), or otherwise exact copies
                   18   of their Works. See, e.g., id.; Kirk Kara Corp. v. W. Stone & Metal Corp., 2020 WL 5991503, at
                   19   *6 (C.D. Cal. Aug. 14, 2020) (dismissing DMCA claim because “while the works may be
                   20   substantially similar, Defendant did not make identical copies of Plaintiff’s works and then remove
                   21   the engraved CMI”); Frost-Tsuji Architects v. Highway Inn, Inc., 2015 WL 263556, at *3 (D. Haw.
                   22   Jan. 21, 2015) (same), aff’d, 700 F. App’x 674 (9th Cir. 2017); O’Neal v. Sideshow, Inc., 583 F.
                   23   Supp. 3d 1282, 1287 (C.D. Cal. 2022) (dismissing DMCA claim and finding that no violation exists
                   24   where the works are not identical). As noted above, however, Plaintiffs’ DMCA claim is premised
                   25   on allegations that output is so dissimilar to Plaintiffs’ Works that they cannot identify infringement
                   26   without CMI.        (See ¶¶ 192–93.)   Accordingly, any properly pleaded DMCA claim would
                   27   impermissibly contradict the allegations in the Complaint. Airs Aromatics, 744 F.3d at 600. This
                   28   claim, too, should be dismissed with prejudice.
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                                                                          15                MOTION TO DISMISS AND/OR STRIKE
                                                                                                CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 25 of 35



                    1                  2.      Plaintiffs’ improper shotgun pleading fails to articulate Midjourney’s
                                               alleged involvement in the alteration or removal of CMI
                    2

                    3          The DMCA claim fails for the additional reason that Plaintiffs do not plausibly plead that

                    4   Midjourney removed or altered CMI. The claim is styled as a “shotgun” pleading in which all

                    5   allegations are directed to all Defendants, without specifying what any individual defendant is

                    6   supposed to have done. (See ¶¶ 181–200 (referring to “Defendants” throughout).) This failure “to

                    7   allege what role each Defendant played in the alleged harm makes it exceedingly difficult, if not

                    8   impossible, for individual Defendants to respond to [the] allegations.” In re iPhone Application

                    9   Litig., 2011 WL 4403963, at *8 (N.D. Cal. Sept. 20, 2011). Such pleading “deprives [d]efendants

                   10   of knowing exactly what they are accused of doing wrong,” and does not satisfy Rule 8(a).

                   11   Sollberger v. Wachovia Sec., LLC, 2010 WL 2674456, at *4–5 (C.D. Cal. June 30, 2010); Destfino

                   12   v. Reiswig, 630 F.3d 952, 958–59 (9th Cir. 2011) (affirming dismissal of “shotgun pleading”).

                   13          Plaintiffs’ jumbled allegations are particularly incoherent when applied to Midjourney. For

                   14   instance, the Complaint alleges that all “Defendants removed or altered CMI from images that are

                   15   owned by Plaintiffs and the Class by training Stable Diffusion on those images and designing it to

                   16   omit any CMI as part of the output” (¶ 183), even though only Stability allegedly “created” and

                   17   “trained” Stable Diffusion (¶¶ 1–3, 33). It also alleges that “Defendants intentionally removed or

                   18   altered CMI from the Works after they were posted on DeviantArt or other websites” (¶ 184), even

                   19   though Midjourney has no alleged ability to remove or alter content posted to another party’s website.

                   20                  3.      Plaintiffs fail to plead any facts to establish scienter

                   21          On top of failing to identify any Work from which Midjourney removed or altered CMI,

                   22   Plaintiffs have also failed to allege facts plausibly establishing that Midjourney intentionally did

                   23   so, or knowingly distributed CMI or copies of Works with knowledge or reason to know that such

                   24   conduct would “induce, enable, facilitate, or conceal an infringement.” 17 U.S.C. § 1202(b). The

                   25   Complaint recites the elements of the DMCA’s so-called “double-scienter” requirement (see

                   26   ¶¶ 189–91), but fails to allege any facts to support a reasonable inference that Midjourney had the

                   27   requisite intent or knowledge. “Threadbare recitals of the elements of a cause of action, supported

                   28   by mere conclusory statements, do not suffice” to state a claim. Iqbal, 556 U.S. at 678.
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                                                                         16                MOTION TO DISMISS AND/OR STRIKE
                                                                                               CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 26 of 35



                    1          The deficiencies in Plaintiffs’ allegations concerning the second scienter requirement (i.e.,
                    2   that Midjourney knew or had reason to know that its conduct would “induce, enable, facilitate, or
                    3   conceal infringement”) are particularly egregious. The Ninth Circuit has made clear that this
                    4   demands “a more specific application than the universal possibility of encouraging infringement;
                    5   specific allegations as to how identifiable infringements ‘will’ be affected are necessary.” Stevens,
                    6   899 F.3d at 674 (affirming grant of summary judgment to defendant on § 1202(b) claim). It “is
                    7   intended to limit liability … to instances in which the defendant knows or has a reasonable basis to
                    8   know that the removal or alteration of CMI or the distribution of works with CMI removed will aid
                    9   infringement.” Id. at 674–75 (emphasis in original). Accordingly, a plaintiff charging a DMCA
                   10   violation “must make an affirmative showing, such as by demonstrating a past ‘pattern of conduct’
                   11   or ‘modus operandi,’ that the defendant was aware or had reasonable grounds to be aware of the
                   12   probable future impact of its actions.” Id. at 673–74.
                   13          Here, Plaintiffs make no effort to satisfy their burden to plead facts showing that
                   14   Midjourney knew or should have known that its alleged actions would aid infringement. As in
                   15   Stevens, they “identify no instance in which the removal of CMI” from any Work has “induce[d],
                   16   enable[d], facilitate[d] or conceal[ed] an infringement.” Id. at 675–76. They do not even identify
                   17   an instance in which Midjourney’s platform was used to infringe, much less that it was designed
                   18   and intended for that purpose. Absent such allegations, Plaintiffs’ DMCA claim must be dismissed.
                   19          C.      Plaintiffs’ Right of Publicity Claims (Claims 4, 5) Should Be Dismissed
                   20          California law provides a statutory cause of action where “any person … knowingly uses
                   21   another’s name, voice, signature, photograph, or likeness, in any manner, on or in products,
                   22   merchandise, or goods, or for purposes of advertising … without such person’s prior consent.” Cal.
                   23   Civ. Code § 3344(a); see also Solano v. Playgirl, Inc., 292 F.3d 1078, 1088 (9th Cir. 2002).
                   24   Somewhat broader, the common law permits a right-of-publicity claim when a defendant (1) uses
                   25   a plaintiff’s identity (2) to defendant’s commercial or other advantage (3) without consent (4)
                   26   causing injury to plaintiff. White v. Samsung Elecs. Am., Inc., 971 F.2d 1395, 1402 (9th Cir. 1992).
                   27          Plaintiffs’ right of publicity allegations are, to put it mildly, difficult to parse. The
                   28   Complaint charges Defendants with purported “use” of Plaintiffs’ “names” and, with respect to the
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                                                                         17                MOTION TO DISMISS AND/OR STRIKE
                                                                                               CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 27 of 35



                    1   common law claim, their “artistic identities.” (¶¶ 201–22.) In each instance, however, Plaintiffs
                    2   elide specifics in favor of conclusory allegations that fail to put any Defendant on notice of the
                    3   claims against it. For example, Plaintiffs allege that Defendants “used Plaintiffs’ names to advertise
                    4   art ‘in the style’ of Plaintiffs’ work” (¶ 205), used their names to “to link and associate [images]
                    5   with Plaintiffs’ specific styles and artistic accomplishments,” and “emphasized the ability of” their
                    6   platforms to create images in the style of the Plaintiffs’ artworks (¶ 208). Not once, however, do
                    7   Plaintiffs identify any instance in which their names or “artistic identities” were actually referenced.
                    8   Plaintiffs do not point to a single statement on Midjourney’s website, interview with the press, ad
                    9   for the platform, or any other example of anyone from Midjourney mentioning any Plaintiff, in a
                   10   commercial context or otherwise. The Court can judicially notice the contents of Midjourney’s
                   11   website (Lauter Decl. 5 & Ex. D; no references to Plaintiffs appear there. On this basis alone,
                   12   Plaintiffs’ conclusory allegations fail to state a right-of-publicity claim against Midjourney.
                   13           The vagueness of the Complaint obfuscates what appears to be the true, but legally non-
                   14   cognizable, premise of Plaintiffs’ publicity claims: that Defendants purportedly violate an artist’s
                   15   publicity rights when users enter the artist’s name into a text prompt to generate works in the “style”
                   16   of that artist. (See ¶ 215 (alleging that Plaintiffs’ publicity rights extend to their “artistic identities,”
                   17   which are “not limited to a specific copyrighted image or work,” but, rather, “extend to Plaintiffs’
                   18   entire corpus of work”).) If that is Plaintiffs’ theory, however, it describes a process by which
                   19   Midjourney users, not Midjourney, utilize Plaintiffs’ names in text prompts, “akin to a text query
                   20   passed to an internet search engine.” (¶ 24.) That would not be a use by Midjourney. See Perfect
                   21   10, Inc. v. Google, Inc., 2010 WL 9479060, at *13 (C.D. Cal. July 30, 2010) (rejecting right of
                   22   publicity claim predicated on use of likeness by others).
                   23           In addition, such a theory is statutorily preempted because it would entitle Plaintiffs to
                   24   monopolize conceptual elements of their Works that Congress explicitly excluded from the scope
                   25   of copyright protection. Under 17 U.S.C. § 301(a), state claims are preempted by the Copyright
                   26   Act where (1) “the ‘subject matter’ of the state law claim falls within the subject matter of copyright
                   27   as described in 17 U.S.C. §§ 102 and 103”; and (2) “the rights asserted under state law are
                   28   equivalent to the rights contained in 17 U.S.C. § 106.” Maloney v. T3Media, Inc., 853 F.3d 1004,
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                                                                             18                 MOTION TO DISMISS AND/OR STRIKE
                                                                                                    CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 28 of 35



                    1   1010 (9th Cir. 2017). “If a plaintiff asserts a claim that is the equivalent of a claim for infringement
                    2   of a copyrightable work, that claim is preempted.” Jules Jordan Video, Inc. v. 144942 Canada
                    3   Inc., 617 F.3d 1146, 1155 (9th Cir. 2010).
                    4          Plaintiffs purport to possess “artistic identities” that encompass all art “in the style of” their
                    5   respective Works (¶ 215), which they define as “a work that others would accept as [one] created
                    6   by [them].” (¶ 5.) This novel conception of publicity rights plainly satisfies both elements and
                    7   triggers preemption, as it amounts to nothing more than a rearticulation of Plaintiffs’ defective claim
                    8   under 17 U.S.C. § 106. Indeed, Plaintiffs use nearly identical language to describe the alleged acts
                    9   of direct copyright infringement upon which their vicarious infringement claim is predicated,
                   10   namely, that individuals have used Defendants’ platforms “to create images that can pass as original
                   11   works by [Plaintiffs].” (¶ 171.)
                   12          Plaintiffs are not spared from preemption because artistic “styles,” as species of aesthetic
                   13   ideas or concepts, are excluded from copyright protection. See 17 U.S.C. § 102(b); 2 Patry on
                   14   Copyright § 4:14 (“Style is not protected.”) (citing cases). See, e.g., McDonald v. West, 138 F.
                   15   Supp. 3d 448, 455 (S.D.N.Y. 2015) (explaining that “copyright does not protect styles” “[f]or the
                   16   same reason” it “does not protect ideas”). “[T]he scope of the subject matter of copyright law is
                   17   broader than the protections it affords.” Montz v. Pilgrim Films & Television, Inc., 649 F.3d 975,
                   18   979 (9th Cir. 2011) (quoting 4 Nimmer on Copyright § 19D.03[A][2][b] (2010)). “[S]tate-law
                   19   protection for fixed ideas”— precisely what Plaintiffs seek by claiming publicity rights in a “style”
                   20   embodied within a corpus of artwork—“falls within the subject matter of copyright and thus
                   21   satisfies the first prong of the statutory preemption test, despite the exclusion of fixed ideas from
                   22   the scope of actual federal copyright protection.” Id. at 979. Because Plaintiffs do not identify any
                   23   use of their purported styles “independent of the display, reproduction, and distribution of the
                   24   copyrighted material in which they are depicted … none of plaintiffs’ claims is qualitatively
                   25   different from a copyright claim,” and they are, therefore, preempted. Maloney, 853 F.3d at 1019.
                   26          D.      Plaintiffs Fail to Plead a Viable Claim for Unfair Competition (Claim 6)
                   27          Dismissal of Plaintiffs’ unfair competition claim is appropriate for three reasons.
                   28
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                                                                          19                 MOTION TO DISMISS AND/OR STRIKE
                                                                                                 CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 29 of 35



                    1          Plaintiffs fail to adequately plead a violation of the Lanham Act or Common Law:
                    2   Plaintiffs make no effort to plead facts to support a claim for “Unfair Competition” under the
                    3   Lanham Act and California common law. (See Compl. at 40; ¶ 44(v).) These offhand references
                    4   appear to have been inadvertent, and, in any event, fail as a matter of law.
                    5          “Unfair competition” under Section 1125 refers to deceptive or misleading uses of words,
                    6   names, or other symbols that cause confusion regarding the source, affiliation, or sponsorship of
                    7   goods or services or that, “in commercial advertising or promotion, misrepresent[] the nature,
                    8   characteristics, qualities, or geographic origin of his or her or another person’s goods, services, or
                    9   commercial activities.” 15 U.S.C. § 1125; see also Brookfield Commc’ns, Inc. v. W. Coast Entm’t
                   10   Corp., 174 F.3d 1036, 1046–47 (9th Cir. 1999). Similarly, unfair competition under California
                   11   common law requires a showing that defendants “have passed off their goods as those of another”
                   12   or “exploit[ed] trade names or trademarks.” Sybersound Records, Inc. v. UAV Corp., 517 F.3d
                   13   1137, 1153 (9th Cir. 2008). Plaintiffs allege nothing of the sort. Instead, they explicitly recast their
                   14   allegations of copyright infringement and violation of the DMCA as “unlawful business practices.”
                   15   (¶ 224.) As such, whatever Plaintiffs’ intent, they fail to state a claim for unfair competition under
                   16   either common law or the Lanham Act. See Dastar Corp. v. Twentieth Century Fox Film Corp.,
                   17   539 U.S. 23, 34 (2003) (cautioning against “misuse or over-extension of trademark and related
                   18   protections into areas traditionally occupied by patent or copyright”).
                   19          Plaintiffs’ UCL claim is preempted: The alleged predicate violations for Plaintiffs’ UCL
                   20   claim are (a) “Infringement of Plaintiffs’ and the Class’s copyrights”; and (b) violation of the
                   21   DMCA. (¶ 224.) The former is preempted under well-settled law. See Sybersound Records, 517
                   22   F.3d at 1152 (affirming dismissal of UCL claim with prejudice and explaining: “To the extent the
                   23   improper [] act complained of is based on copyright infringement, the claim was properly dismissed
                   24   because it is preempted” under 17 U.S.C. § 301(a)); Oracle Am., Inc. v. Hewlett Packard Enter.
                   25   Co., 823 F. App’x 516, 519 (9th Cir. 2020) (same, affirming summary judgment).
                   26          Plaintiffs lack a predicate violation: Violation of the UCL’s “unlawful” prong “effectively
                   27   borrows violations of others laws” and “cannot survive” if predicated on defective claims.
                   28   Mohanna v. Carrington Mortg. Servs. LLC, 2018 WL 3730419, at *8 (N.D. Cal. Aug. 6, 2018)
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                                                                          20                MOTION TO DISMISS AND/OR STRIKE
                                                                                                CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 30 of 35



                    1   (dismissing UCL claim as all predicate claims were dismissed) (Orrick, J.). Because Plaintiffs fail
                    2   to adequately state a claim for either copyright infringement or violation of the DMCA (see
                    3   Sections IV.A & B, supra), their UCL claim must also be dismissed for this additional reason. Id.
                    4          E.      Plaintiffs’ Claim for Declaratory Relief is Redundant and Improper (Claim 8)
                    5          A claim for declaratory relief is “unnecessary” and should be dismissed “where an adequate
                    6   remedy exists under some other cause of action.” Mangindin v. Wash. Mut. Bank, 637 F. Supp. 2d
                    7   700, 707–08 (N.D. Cal. 2009) (dismissing where declaratory relief claim was “entirely commensurate
                    8   with the relief sought through ... other causes of action”); see also Technology & Intell. Prop.
                    9   Strategies Grp. PC v. Fthenakis, 2011 WL 3501690, at *10 (N.D. Cal. Aug. 10, 2011) (dismissing
                   10   claim as “needlessly duplicative” where “the requested declarations are wholly dependent on the
                   11   Court’s findings on [the] substantive claims”). Dismissal is also appropriate where a request for
                   12   declaratory relief is derivative of claims that themselves warrant dismissal. See Malasky v.
                   13   Esposito, 2019 WL 79032, at *10 (N.D. Cal. Jan. 2, 2019), aff’d, 781 F. App’x 643 (9th Cir. 2019).
                   14          Plaintiffs’ claim for declaratory relief is merely a rehash of their other substantive claims.
                   15   It is, thus, both needlessly duplicative and derivative of other defective claims that, as discussed
                   16   above, should also be dismissed. Claim 8 should be dismissed with prejudice.
                   17   V.     PLAINTIFFS’ CLASS ALLEGATIONS SHOULD BE STRICKEN UNDER RULE 12(F)
                   18          Even if the Court were to allow Plaintiffs’ defective individual claims to proceed (or to be
                   19   amended), the Court should nonetheless strike the class allegations from the Complaint because
                   20   there is no conceivable class that might satisfy the requirements of Rule 23 in this case.
                   21          Although motions to strike class allegations are uncommon, the Supreme Court has
                   22   acknowledged that it is possible to determine the viability of a proposed class at the pleading stage.
                   23   See General Tel. Co., 457 U.S. at 160. See, e.g., Sanders, 672 F. Supp. 2d at 991 (granting motion
                   24   to strike class definition); Hovsepian, 2009 WL 5069144, at *6 (same); Brazil v. Dell Inc., 585 F.
                   25   Supp. 2d 1158, 1166–67 (N.D. Cal. 2008) (same); Ruegsegger v. Caliber Home Loans, Inc., 2019
                   26   WL 8163640, at *6 (C.D. Cal. Jan. 8, 2019) (“it is clear from the pleadings that a class could not
                   27   be certified”); Bates v. Bankers Life & Cas. Co., 993 F. Supp. 2d 1318, 1342 (D. Or. 2014) (holding
                   28   that the “inability to satisfy the requirements of Rule 23(a)(3) provides sufficient grounds, without
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                                                                         21                MOTION TO DISMISS AND/OR STRIKE
                                                                                               CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 31 of 35



                    1   more, for granting defendants’ motion to strike”). Where, as here, a complaint demonstrates on its
                    2   face that a class action cannot be maintained, courts have granted motions to strike class allegations
                    3   in order “to avoid the expenditure of time and money that must arise from litigating spurious issues
                    4   by dispensing with those issues prior to trial.” Sanders, 672 F. Supp. 2d at 990–91.
                    5          Midjourney recognizes that this Court has repeatedly cautioned against motions to strike
                    6   class allegations at the pleading stage, explaining that doing so “is only appropriate where the
                    7   defendant presents an argument that completely precludes certification of any class, not just the
                    8   class currently defined in the complaint.” Rice-Sherman v. Big Heart Pet Brands, Inc., 2020 WL
                    9   1245130, at *15 (N.D. Cal. Mar. 16, 2020) (emphasis in original) (Orrick, J.); Huynh v. Jabil Inc.,
                   10   2023 WL 1802417, at *7 (N.D. Cal. Feb. 7, 2023) (same) (Orrick, J.). This is such a case, however.
                   11          As set forth below, Plaintiffs seek to do the impossible by applying a single class definition
                   12   to four distinct violations of law, each with its own elements and individualized, fact-intensive
                   13   inquiries that overwhelm any conceivable common issues. Because it is “obvious from the
                   14   pleadings that the proceeding cannot possibly move forward on a classwide basis,” the Court should
                   15   use its “authority under [Rule] 12(f) to delete the complaint’s class allegations.” See Stokes v.
                   16   CitiMortgage, Inc., 2015 WL 709201, at *4 (C.D. Cal. Jan. 16, 2015) (quoting Manning v. Bos.
                   17   Med. Ctr. Corp., 725 F.3d 34, 59 (1st Cir. 2013)).
                   18                  1.      No purported “Damages Class” can be certified
                   19          Rule 23(b)(3) requires that “questions of law or fact common to class members predominate
                   20   over any questions affecting only individual members, and that a class action is superior to other
                   21   available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).
                   22   To that end, “this Court must determine whether common evidence and common methodology
                   23   could be used to prove the elements of the underlying cause of action.” In re High-Tech Empl.
                   24   Antitrust Litig., 985 F. Supp. 2d 1167, 1186–87 (N.D. Cal. 2013). As the Complaint amply
                   25   demonstrates, these requirements cannot be met here under any set of circumstances.
                   26          As a general matter, courts consistently decline to proceed on a class-wide basis for claims
                   27   involving fact-intensive analyses of intellectual property infringement. For example, in Vulcan
                   28   Golf, LLC, v. Google, Inc., several trademark owners brought a class action against Google for
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                                                                         22                MOTION TO DISMISS AND/OR STRIKE
                                                                                               CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 32 of 35



                    1   permitting registration of domain names that incorporated the putative class members’ marks. 254
                    2   F.R.D. 521 (N.D. Ill. 2008). In denying certification under Rule 23(b)(3), the court explained that
                    3   “individual issues predominate as to the trademark-related claims and the certification of any class
                    4   related to the trademark claims would simply be unmanageable.” Id. at 534. In particular, the court
                    5   was concerned about the need “to conduct hearings regarding ownership on even a tiny fraction of
                    6   the potentially millions of registered and unregistered marks or personal names of the putative class
                    7   members” to determine ownership of at-issue marks. Id. at 528.
                    8          Similarly, in FPX, LLC v. Google, Inc., which involved allegations that Google violated
                    9   putative class members’ trademark rights by selling them as keywords, the district court declined
                   10   certification because the class could not even satisfy Rule 23(a)(2)’s lower threshold of
                   11   commonality, let alone the higher bar imposed by Rule 23(b)(3)’s predominance requirement. 276
                   12   F.R.D. 543, 550 (E.D. Tex. 2011). The court concluded that the trademark claim was not capable
                   13   of class-wide resolution because determining whether one class member’s trademark rights were
                   14   violated would not resolve any other class member’s trademark claim. See id. (citing Wal-Mart
                   15   Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011) (“Their claims must depend upon a common
                   16   contention…. That common contention, moreover, must be of such a nature that it is capable of
                   17   classwide resolution—which means that determination of its truth or falsity will resolve an issue
                   18   that is central to the validity of each one of the claims in one stroke.”). The same reasoning applies
                   19   to copyright infringement claims, which are generally regarded as “poor candidates for class-action
                   20   treatment” because each individual’s claim “must be resolved upon facts which are particular to
                   21   that single claim of infringement, and separate from all the other claims.” Football Ass’n Premier
                   22   League Ltd. v. YouTube, Inc., 297 F.R.D. 64, 65–66 (S.D.N.Y. 2013) (denying class certification).
                   23          Here, Plaintiffs plead a “Damages Class” that would include any person or entity in the U.S.
                   24   that owns an undefined “copyright interest” in a work used to train an AI Image Product (¶ 41),
                   25   ignoring that this case presents multiple species of rights violations apart from copyright, each
                   26   independently demanding the type of individualized, fact-intensive analyses—with respect to
                   27   determining both class membership and ultimate liability—that courts consistently regard as
                   28   predominating over common issues. Just resolving the claims for direct copyright infringement
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                                                                         23                MOTION TO DISMISS AND/OR STRIKE
                                                                                               CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 33 of 35



                    1   would require the Court to proceed on an image-by-image basis across every putative class member
                    2   to resolve issues of protectability (i.e., whether an image merits copyright protection), ownership,
                    3   registration, substantial similarity, authorization (including whether any image was published under
                    4   a “copyleft” license, or its use was otherwise subject to an express or implied license), fair use, and
                    5   other matters necessary to proving such a claim. See Football Ass’n, 297 F.R.D. at 67. On top of
                    6   that, under 17 U.S.C. § 412, the Court would need to make individualized inquiry into when each
                    7   putative class member procured its registration for each image at issue to ascertain if he or she may
                    8   be entitled to statutory damages or must instead prove actual damages, which in turn may entail
                    9   evidence of previous licensing and royalty arrangements, and evidence on the extent to which any
                   10   allegedly infringing work has been used, distributed, or generated revenue. Given that Plaintiffs
                   11   have alleged that as many as “five billion images” are at issue (¶ 57), adjudicating class-wide
                   12   claims, just with respect to direct copyright infringement, would be impossible.
                   13          Plaintiffs’ other claims implicate entirely independent fact intensive analyses. For example,
                   14   addressing claims for vicarious infringement would involve all of the same issues as direct
                   15   infringement, but with an added layer of attenuation that would require the Court to consider the
                   16   conduct of innumerable third parties. (See supra, at 12–14.) In addition, Plaintiffs’ DMCA and
                   17   right of publicity claims would require the Court to determine, among other things, whether class
                   18   members’ copyrighted works contained CMI; whether any CMI was removed or altered; whether
                   19   that removal, in fact, caused any harm; and whether each class members’ identity, name or likeness
                   20   was used by Midjourney and how. And the amount of purported damages would necessarily vary
                   21   significantly between class members, as some Works and some individuals’ rights will inevitably be
                   22   valued more highly than others. See Lane v. Facebook, Inc., 696 F.3d 811, 823–24 & n.5 (9th Cir.
                   23   2012) (noting that “significant variation” in claimed damages among class members is relevant to
                   24   Rule 23(b)(3) “predominance” analysis); Block v. Major League Baseball, 65 Cal. App. 4th 538,
                   25   543–46 (1998) (affirming denial of certification in publicity action by baseball players, as ability to
                   26   award damages was complicated by fact that “the value of each player’s right of publicity would
                   27   depend, at least in part, on the level of his celebrity” and “court would be obligated to evaluate”
                   28   defenses, including consent, that may not be common and were a “strong barrier to certification”).
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                                                                          24                MOTION TO DISMISS AND/OR STRIKE
                                                                                                CASE NO.: 3:23-CV-00201-WHO
                         Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 34 of 35



                    1          Plaintiffs should not be permitted to subject Defendants to extraordinarily broad and
                    2   burdensome discovery on a putative class-wide basis (let alone the expense of objecting to
                    3   certification) while Plaintiffs grope hopelessly for a cognizable class that can never be found.
                    4   Because it is evident from the face of the Complaint that Plaintiffs cannot construct any workable
                    5   damages class in which common issues predominate, its defective class claims and “Damages
                    6   Class” should be stricken under Rule 12(f). Kevari v. Scottrade, Inc., 2018 WL 6136822, at *7–8
                    7   (C.D. Cal. Aug. 31, 2018) (granting motion to strike where plaintiff’s class allegations “fail[ed] to
                    8   sufficiently plead predominance”); Lautemann v. Bird Rides, Inc., 2019 WL 3037934, at *7 (C.D.
                    9   Cal. May 31, 2019) (striking class allegations where “class members’ claims necessarily turn[ed]
                   10   on individualized questions”); Tietsworth v. Sears, Roebuck & Co., 720 F. Supp. 2d 1123, 1147
                   11   (N.D. Cal. 2010) (granting motion to strike and finding express warranty claims improper for class
                   12   treatment as they “involve[d] elements that are individual to each purported class member”).
                   13                  2.      No purported “Injunctive Relief Class” can be certified
                   14          Plaintiffs also purport to assert an “Injunctive Relief Class” under Rule 23(b)(2), but this
                   15   should be stricken as well. Plaintiffs cannot show that injunctive relief could be fashioned against
                   16   Midjourney “respecting the class as a whole,” because, as discussed above, there are myriad
                   17   permutations of facts and law that must be considered before any injunction can be issued against
                   18   Midjourney as to any individual class member or work. Equally problematic, Plaintiffs’ proposed
                   19   “Injunctive Relief Class” uses the identical definition as their purported “Damages Class.” The
                   20   Supreme Court has ruled that Rule 23(b)(2) “does not authorize class certification” where, as
                   21   alleged here, “each class member would be entitled to an individualized award of monetary
                   22   damages.” Wal-Mart Stores, 564 U.S. at 360–61; see Ellis v. Costco Wholesale Corp., 657 F.3d
                   23   970, 986–87 (9th Cir. 2011) (reversing certification of a (b)(2) class where plaintiffs sought both
                   24   monetary and injunctive relief and explaining that (b)(2) cannot be invoked where the claims
                   25   involve “individualized determinations of each [class member’s] eligibility” to monetary relief).
                   26   VI.    CONCLUSION
                   27          Plaintiffs’ Complaint fails to state any factually or legally cognizable claim against
                   28   Midjourney. All claims against Midjourney should be dismissed, and the class claims stricken.
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                                                                         25                MOTION TO DISMISS AND/OR STRIKE
                                                                                               CASE NO.: 3:23-CV-00201-WHO
                        Case 3:23-cv-00201-WHO Document 52 Filed 04/18/23 Page 35 of 35



                    1   Dated: April 18, 2023                COOLEY LLP
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                                                            26             MOTION TO DISMISS AND/OR STRIKE
                                                                               CASE NO.: 3:23-CV-00201-WHO
